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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------ X
                                                                   :
IN RE EX PARTE APPLICATION OF TIBERIUS AG : [PROPOSED] ORDER
FOR AN ORDER TO OBTAIN DISCOVERY                                   :
FOR USE IN A FOREIGN PROCEEDING                                    : Misc. Action No. ___________
                                                                                       19mc467
                                                                   :
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       Upon consideration of the Ex Parte Application of Tiberius AG (“Applicant”) for an

order pursuant to 28 U.S.C. § 1782(a) allowing Applicant to conduct discovery for use in foreign

legal proceedings, and the accompanying Memorandum of Law, the Declarations of Courtney

Scott and Michael Meredith, and the documents attached thereto, in support of the Application,

       IT IS HEREBY ORDERED that:

       1.      The Application is granted;

       2.      The Applicant is authorized to take discovery relating to issues identified in the

               Application and the supporting Memorandum of Law in accordance with the

               Federal Rules of Civil Procedure and the Rules of this Court, including by:

               (i) serving on Citibank N.A., Deutsche Bank Trust Company Americas,

               JPMorgan Chase Bank N.A., Bank of New York Mellon, Bank of America, UBS

               AG and HSBC Bank USA N.A. (collectively, the "Domestic Banks") the

               subpoenas for production of documents attached to the Application as Exhibits A

               through G; and (ii) serving additional subpoenas on the Domestic Banks for the

               production of documents and/or depositions as Applicant reasonably determines

               to be appropriate;
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3.    This Court shall retain such jurisdiction as is necessary to enforce the terms of any

      subpoenas authorized under this Order.



        November 6
Dated: ________________, 2019

                                                    SO ORDERED.



                                                           U.S. District Judge




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